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 8
                                      UNITED STATES DISTRICT COURT
 9                                   WESTERN DISTRICT OF WASHINGTON
                                               AT SEATTLE
10
         REC ROOM, INC.,
11                                                              Case No.
                              Plaintiff,
12                                                              COMPLAINT FOR BREACH OF
                     v.                                         CONTRACT, FRAUD, COPYRIGHT
13                                                              INFRINGEMENT AND OTHER CLAIMS
         M.Z,
14                                                              DEMAND FOR JURY TRIAL
                              Defendants.
15

16              Plaintiff Rec Room, Inc. (“RRI”) as and for its complaint against Defendant, respectfully

17   alleges as follows:
18                                                 INTRODUCTION
19
                1.        RRI’s eponymous game (“Rec Room”) is a place where people from around the
20
     world come together in a virtual space to chat, hang out, build things, create new online
21
     “Rooms,” and explore the Rooms RRI and its users create.1
22

23

24

25   1
      Each “Room” is a game within Rec Room. For example, RRI built “rooms” that are multiplayer quests, player-
     versus-player paintball or laser tag, dodgeball, disc golf, and even a racing game. RRI also designs and provides
26   users with tools to build those rooms, allowing users to create whatever they can imagine.




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 1            2.        Rec Room is more than a game - it is an extensive community of players,
 2
     creators, and developers.
 3
              3.        Over Rec Room’s seven-year history, that community has developed into a fun
 4
     and welcoming place for people from around the world, playing on devices ranging from
 5
     iPhones to state-of-the-art virtual reality sets, united in their shared love of the game and its
 6

 7   community. Rec Room is what it is because of its players and creators.

 8            4.        As a rule, successful multiplayer games attract bad actors who seek to harass
 9   others and disrupt their experience, often by cheating and creating Hacks.2
10
              5.        Rec Room is no exception, and RRI employs a broad range of tools to deter,
11
     detect, and remove such actors.
12
              6.        Once identified, RRI moderators suspend and ban bad actors, and RRI’s security
13

14   staff uses a range of tools to detect and thwart their efforts to return to the game.

15            7.        These measures typically deter bad actors and help remove them from the Rec

16   Room community. But, despite RRI’s best efforts, they have not deterred M.Z.
17            8.        M.Z. is a minor who has been repeatedly banned from Rec Room.
18
              9.        M.Z. has been banned for posting racist content, bullying and harassing other
19
     players, and refusing to abide by the community standards, all at excessive levels.
20

21

22

23

24   2
      “Hacking” is used, in the context of this Complaint, to describe the creation and use of unauthorized software that
     carries out functions such as interfering with or preventing the proper functioning of Rec Room, typically in an
25   effort to gain an unearned advantage in playing the game, to do things in the game that the game software is
     designed and intended to prevent, or to harm other users. The term “Hacks” is used in this Complaint to describe
26   such software.




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 1           10.        M.Z. has also been banned because he creates, uses, and sells illicit software that
 2
     allows its users, including both M.Z. and his customers, to cheat and hack the game in violation
 3
     of Rec Room’s rules and standards.
 4
             11.        M.Z., in other words, profits by encouraging others to engage in conduct harmful
 5
     to Rec Room’s brand, online presence, the game space, and the community that supports it,
 6

 7   which in turn creates demand for the tools that he sells to facilitate this misconduct.

 8           12.        RRI has invested a great deal of time, effort, and money in trying to stop M.Z.
 9   RRI has banned M.Z.’s accounts, but M.Z. uses unlawful software tools, including some he has
10
     developed and sold, to circumvent the technical measures that keep banned players from using
11
     new accounts to access the game.
12
             13.        These measures generally dissuade even the most dedicated cheaters, hackers, and
13

14   ban evaders, but M.Z. remains focused on causing harm to Rec Room and its community. This

15   forced RRI to identify M.Z., engage outside counsel, and reach out to his parents through a

16   cease-and-desist letter, seeking an amicable resolution that would stop M.Z.’s misconduct and
17   the in- and out-of-game harms his actions have caused to RRI and the Rec Room community.
18
             14.        Nor can there be any doubt that RRI accurately identified M.Z.; after he received
19
     the cease and desist letter, M.Z. posted a copy online for his friends to admire. But he knowingly
20
     and willfully refused to comply. Instead, he took steps to conceal his continued unlawful
21

22   activities by moving his illegitimate commercial hack-selling operation to different online

23   channels.

24           15.        Because M.Z. is a teenager, RRI involved his parents, imploring them to properly
25
     supervise their son as the law requires them to do. They refused. RRI therefore brings this action
26



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 1   against M.Z. to stop his damaging activities and recover compensation for the damage he has
 2
     caused.
 3
                                                    PARTIES
 4
               16.      Plaintiff Rec Room, Inc. is a Delaware corporation with its primary place of
 5
     business at 300 Elliott Ave W Suite 450, Seattle, Washington.
 6
               17.      Defendant M.Z. is a minor, believed to be approximately 16 years of age. M.Z. is
 7

 8   a Canadian national, residing in Langley, British Columbia, Canada.

 9                                       JURISDICTION AND VENUE

10             18.      The Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
11   1331, in that Plaintiff asserts claims under federal law, for violations of the Digital Millennium
12
     Copyright Act, and supplemental jurisdiction over RRI’s state law claims under 28 U.S.C. §
13
     1367(a).
14
               19.      This Court has personal jurisdiction over M.Z. because M.Z. consented to the
15

16   jurisdiction of the state and federal courts located in Seattle, Washington when he accepted the

17   Rec Room Terms of Service, which provide, with respect to disputes involving

18   anticircumvention claims, that such disputes “shall be subject to the exclusive jurisdiction
19   of…the state and federal courts located in Seattle, Washington.”
20
               20.      The Rec Room Terms of Service also includes M.Z.’s consent to venue in Seattle,
21
     Washington.
22
               21.      Additionally, this court has personal jurisdiction over M.Z. pursuant to RCW
23

24   4.28.185(1), the Washington Long-Arm Statute, because M.Z. committed tortious acts that

25   caused RRI injury in the State of Washington.

26



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 1           22.        Venue is proper under 28 U.S.C. § 1391(b)(2), in that a substantial part of the
 2
     events or omissions giving rise to the claims occurred in this judicial district and harmed RRI in
 3
     this judicial district.
 4
             23.        In the alternative, venue is proper under 28 U.S.C. § 1391(b)(3), in that
 5
     Defendants are foreign individuals residing in Canada and therefore do not reside in a district
 6

 7   within any state, and, as such, if venue is not proper under 28 U.S.C. § 1391(b)(2), there is no

 8   judicial district in which venue would otherwise be proper under Section 1391(b).
 9                                               BACKGROUND
10   I.      THE REC ROOM GAME AND COMMUNITY
11           24.        Rec Room is not a traditional video game in which users play a game developed
12
     exclusively by the developer.
13
             25.        RRI does not maintain exclusive control over the game’s content.
14
             26.        RRI builds and maintains some of the game’s Rooms, but not all of them.
15

16           27.        RRI provides the core areas of the game, like each player’s individual “Dorm

17   Room” (a private Room where the player can relax, and that is accessible to others only if the

18   player invites them) and the “Rec Center” that serves as a central hub for various game
19   functions, as a scaffolding for player-created Rooms.
20
             28.        RRI also regularly creates and releases new content as “Rec Room Originals”:
21
     developer-produced rooms in which players can play games or interact with each other, both as
22
     complete experiences in themselves and as examples players can model when creating their own
23

24   Rooms.

25           29.        But most of the game’s Rooms are created by Rec Room’s players, not RRI’s

26   developers.



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 1           30.        RRI provides the tools that players use to create their own Rooms.
 2
             31.        And RRI continues, as it develops Rec Room Originals, to create new Room-
 3
     building tools not only for the use of its own developers, but for the players.
 4
             32.        In essence, RRI democratizes the construction of the game. Players can use the
 5
     same tools the developers use to apply their imaginations and create new and exciting
 6

 7   experiences for other players.

 8           33.        Rec Room’s players use the tools RRI provides to create everything from social
 9   gathering spaces to fast-paced, competitive player-versus-player video games – all hosted within
10
     the framework provided by Rec Room.
11
             34.        And players can choose what Rooms they play, picking from a menu that is
12
     continuously developed and refined by both RRI and the players themselves.
13

14           35.        This provides the characteristic welcoming “look and feel” that is key to Rec

15   Room’s popularity and success.

16
     II.     THE REC ROOM FREE-TO-PLAY MODEL
17
             36.        Rec Room is a free-to-play game. Unlike the traditional video game business
18
     model, where a player pays the developer to buy a copy of the game (or a license to play it),
19

20   players do not need to pay RRI to play Rec Room.

21           37.        Players can download Rec Room for free, and can access and enjoy nearly all of
22   the game’s content for free.
23
             38.        However, access to some game content is gated, and requires players to spend
24
     “Tokens” to enter.
25

26



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 1           39.        Tokens function as the game’s in-game currency, and are licensed to players for
 2
     in-game use.
 3
             40.        Players can purchase Tokens directly from RRI.
 4
             41.        Players can also earn Tokens by participating in in-game activities.
 5
             42.        Players who develop content – “Creators” – can make their original creations
 6

 7   available for use by other players in exchange for Tokens.

 8           43.        When they do, Creators receive a percentage of those Tokens as payment.
 9           44.        This allows players to earn tokens by developing original content.
10
             45.        Whether purchased or earned, Tokens can be used for many in-game purposes.
11
             46.        Tokens can be used to buy cosmetic enhancements for players’ characters and
12
     Dorm Rooms, or to purchase “inventions” (game components created by other users).
13

14           47.        Tokens can also be exchanged for “room keys” that unlock new in-game content,

15   or used to acquire “room currencies” that can be spent in a given Room for content specific to

16   that Room.
17           48.        After meeting certain eligibility requirements Creators can also redeem the
18
     Tokens they earn for cash.
19
             49.        Thus, Tokens have a two-way value. They may be purchased for real-world
20
     money, and Creators can convert their Tokens to real-world money, making playing Rec Room
21

22   and developing Rec Room content a source of income.

23           50.        In other words, not only do players not have to pay to participate in the Rec Room

24   community, but they can be rewarded in game by other players who appreciate the things that
25
     they create and can translate those rewards to real-world earnings.
26



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 1           51.        These features are important to the Rec Room experience, and provide the game
 2
     with its unifying framework.
 3
             52.        This free-to-play business model is successful for RRI, which has developed and
 4
     supports a vibrant community of Rec Room developers and gamers.
 5
             53.        It is also successful for the members of the Rec Room community who create
 6

 7   content that the community values and appreciates.

 8           54.        Rec Room’s carefully balanced ecosystem encourages members of the
 9   community to feel a sense of “stake” in the game and community.
10
             55.        This is critical to RRI’s bottom line, because the free-to-play business model only
11
     succeeds if people want to play, and keep playing, Rec Room.
12

13   III.    RRI’S EFFORTS TO MAINTAIN A SAFE AND WELCOMING ENVIRONMENT
             FOR ALL PLAYERS
14
             56.        Maintaining a safe, welcoming environment for its entire community of players,
15

16   creators, and developers is one of RRI’s top priorities.

17           57.        From concept through design to implementation, RRI invests significant effort to

18   make content safe, welcoming, and enjoyable to a wide audience.
19           58.        When honest players are bullied, when hackers disrupt and destroy the online
20
     spaces the Rec Room community has worked so hard to create, the Rec Room community and
21
     RRI are harmed.
22
             59.        These activities make the game harder and less fun to play, and damage the
23

24   enjoyment, trust, and overall experience of the Rec Room community that RRI strives constantly

25   to create and maintain.

26



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 1           60.        It also damages RRI, because people play games that are fun, not games that are
 2
     overrun by bullies and hackers.
 3
             61.        When fewer people play Rec Room, fewer people purchase Tokens, and RRI is
 4
     financially harmed.
 5
             62.        To ensure that the Rec Room community and RRI itself are not harmed in this
 6

 7   way, RRI takes many steps to ensure that bad actors in the community do not ruin the game for

 8   everyone else.
 9           63.        RRI employs moderators who monitor the game and impose consequences on
10
     players who do not follow the rules.
11
             64.        RRI uses technological protection measures in the form of both internally-
12
     developed and third-party software to prevent and detect hacking, other exploits, and violations
13

14   of Rec Room’s Code of Conduct and Terms of Service (“TOS”).

15           65.        RRI also employs operational security personnel who identify the sources of hack

16   software and develop countermeasures against it.
17           A.         The Rec Room Code of Conduct and Terms of Service Help Create and
                        Maintain a Safe and Welcoming Environment for Players.
18
             66.        To ensure that Rec Room remains a welcoming place for all players, RRI
19

20   maintains both a Code of Conduct and TOS for Rec Room.

21           67.        The Code of Conduct is simple and easy to understand, and Rec Room displays it
22   in every player’s “Dorm Room,” as part of Rec Room orientation, and in almost every room
23
     throughout the game.
24
             68.        The Code of Conduct requires, in full:
25
                              Be excellent to each other
26



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 1                            Players under 13 must use a junior account
 2
                              No sexually explicit behavior in public areas
 3
                              No sexist, racist, discriminatory, or harassing language, symbols, or
 4                             behavior

 5                            No harassing other players or disruptive trolling
 6             69.      The TOS is a binding agreement between RRI and players.
 7
               70.      The TOS is linked from every player’s Dorm Room.
 8
               71.      All players must agree to the TOS when they download or install the game on any
 9
     device.
10
               72.      The TOS is expressly conditioned on compliance with the Code of Conduct.
11

12             73.      The TOS also expressly conditions the license to play Rec Room on the player’s

13   agreement, among other things, not to:
14
                              engage in conduct that “harasses, threatens or embarrasses
15
                               others, or promotes discrimination, bigotry, racism, hatred,
16                             harassment or harm against any individual or group.”

17                            cheat, including by: (1) using exploits of in-game bugs to
                               give the player or others users an advantage over players
18                             not making use of the bugs, and (2) circumventing any of
                               the methods RRI uses to enforce the TOS.
19

20                            do anything to “[a]void, bypass, remove, deactivate, impair,
                               descramble or otherwise circumvent any technological
21                             measure implemented by Rec Room Inc or any of Rec
                               Room Inc's providers or any other third party (including
22                             another user) to protect the Services or Content.”
23                            “Create, develop, modify, distribute, or use any
24                             unauthorized software programs to gain any advantage or
                               alter the intended operation of the Services.”
25
                              “Use the Services or Content, or any portion thereof, for
26                             any commercial purpose.”



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 1           B.         Rec Room’s Moderation Teams Work Tirelessly to Keep the Game Safe and
                        Welcoming.
 2
             74.        Rec Room’s employs staff to moderate the game.
 3

 4           75.        The moderation team uses automatic and manual moderation and artificial

 5   intelligence tools to proactively detect players who are engaged in Code of Conduct and TOS

 6   violations.
 7           76.        Players may also report misconduct to the moderation team, which then
 8
     investigates the reports and determines if the Code of Conduct or TOS have been violated.
 9
             77.        When players are caught violating the TOS, the moderation team can impose
10
     sanctions.
11

12           78.        These sanctions can include in-game actions like muting or a time-out, warnings,

13   suspensions, or, in extreme cases, a permanent ban.

14           79.        Sanctions are normally imposed progressively, meaning that a wrongdoer has the
15
     opportunity to improve their conduct before it reaches a point where a permanent ban is imposed.
16
             80.        And moderators also have the ability to reverse, or forgive, sanctions.
17
             81.        Rec Room’s moderation is not, in other words, designed to rule the game with an
18
     iron hand, but instead to encourage player growth while maintaining a safe and welcoming
19

20   environment for players.

21           C.         Rec Room’s Technological Protection Measures Protect the Game From
                        Unauthorized Access and Misuse.
22
             82.        In addition to its moderation teams, RRI also employs a broad range of
23
     technological protection measures that effectively control access to Rec Room and protect RRI’s
24

25   exclusive rights in the game.

26           83.        Collectively, these measures create a defense in depth protecting the game.



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 1            84.       To play Rec Room, each player must create an account.
 2
              85.       Each time a player logs in to play Rec Room, the game checks to ensure that the
 3
     account is permitted to play. If the account has been suspended or banned, the player is not
 4
     permitted to go anywhere in Rec Room other than their Dorm Room; bans can also include an
 5
     account lock, which prohibits the player from logging in.
 6

 7            86.       Rec Room also checks the Hardware ID (“HWID”) of the device against a list of

 8   banned accounts to ensure that a user has not attempted to create a new account to evade a ban.3
 9            87.       Rec Room uses a system of room permissions and roles that limit what players
10
     can do in each room.
11
              88.       For example, these permissions determine whether a player’s character can fly
12
     within the room, and the speed at which the character walks.
13

14            89.       These permissions and roles also determine whether the player can use tools like

15   the Maker Pen to modify the room and its virtual contents.4

16            90.       The game does not permit characters to act in ways that are not allowed by the
17   permissions and roles.
18
              91.       RRI uses server validation checks to check for overriding malicious code.
19
              92.       These measures check to make sure that server certificates are genuine and block
20
     non-HTTPS traffic from accessing the server.
21

22

23

24   3
       HWID is a unique identifier based on the device’s component parts and/or other device identifiers, associated with
25   the device the player uses to access Rec Room.
     4
       Maker Pen is the game's in-game creation tool. When used as intended, it allows creators to create objects,
26   interactions, gameplay mechanics, and much more inside of a player's created room.




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 1           93.        RRI has developed and implemented internal hack detection software, which is
 2
     used to identify and ban hacking players.
 3
             94.        RRI also licenses hack detection software from other companies, which is also
 4
     used to identify and ban hackers.
 5
             95.        RRI monitors and moderates Rec Room constantly with automatic and manual
 6

 7   intervention to identify and take action against Code of Conduct and TOS violations by warning,

 8   muting, or banning players in ever-increasing time increments based on severity or repetition of
 9   the violation(s).
10
             96.        RRI uses third party software to monitor for security issues, create event
11
     dashboards, and alert for detected security issues based on observed metrics.
12
             97.        RRI invests a great deal of time and resources in its security measures, including
13

14   its anti-hacking efforts, and employs security specialists to maintain and further develop these

15   measures.

16           98.        RRI routinely updates its software, including the game client, to make it harder
17   for hackers to attack Rec Room and its players.
18
             99.        This process is inherently reactive, and RRI must maintain constant vigilance to
19
     stay ahead of the efforts of hackers, hack creators, and hack sellers like M.Z.
20

21   IV.     M.Z. AND HIS YEARS OF REC ROOM MISCONDUCT
22           100.       On information and belief, M.Z. has been a Rec Room player since 2017.
23
             101.       He primarily used the handle “Neptune” online.
24
             102.       He has also used other usernames, including, on information and belief, “Jesse,”
25
     “Sophie,” “snow,” “waffles,” “Jmpyyn,” and variations on those names.
26



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 1           103.       From the beginning of M.Z.’s time as a Rec Room player, he has been a largely
 2
     toxic player whose regular violations of Rec Room’s Code of Conduct resulted in escalating
 3
     consequences.
 4
             104.       M.Z. was temporarily banned from Rec Room on several occasions in 2018 and
 5
     2019, and was permanently banned in 2019, as a consequence of his use and sale of hacks, racist
 6

 7   in-game conduct, abuse of other players, and abuse of Rec Room’s volunteer moderators.

 8           105.       M.Z. did not, even after being banned, stop his hacking, harassment, or racist
 9   conduct.
10
             106.       Instead, M.Z. continued to escalate in toxicity, growing into his hacking role.
11
             107.       Despite having been banned from Rec Room, M.Z. created and sold software
12
     tools to circumvent Rec Room’s technological protection measures and evade bans.
13

14           108.       M.Z. created additional in-game hacks after being banned from Rec Room.

15           109.       And M.Z. created, and on information and belief continues to create, multiple

16   accounts to evade bans.
17           110.       All of these actions are in violation of the TOS.
18
             A.         M.Z. Makes and Sells Hack Software.
19
             111.       M.Z.’s direct harassment, hacking, and hacking are only one part of his efforts to
20
     harm Rec Room and RRI.
21
             112.       M.Z. does not merely do these things for his own twisted amusement.
22

23           113.       He uses his harassment and hacking to advertise for, and support, his unlawful

24   enterprises.

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 1           114.       As part of a broad effort to commercialize his hacking and hacking, M.Z.
 2
     encourages others to engage in misconduct, and provides them – for a price – with tools that
 3
     facilitate their unlawful actions.
 4
             115.       M.Z. maintained a Discord server, known as “Ape Shop,” that he used to
 5
     advertise his services as a maker of hack software, and to sell the software (the “Hacks”) at
 6

 7   prices of up to $199.99 USD for “lifetime support.”

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25           116.       The Hacks include a broad suite of hacks for the Rec Room game, including

26   HWID spoofing software, designed to circumvent Rec Room’s technological protection



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 1   measures.
 2
             117.       Each piece of malicious software that M.Z. sells serves a different function and
 3
     allows for different kinds of hacking or different methods of ban evasion.
 4
             118.       M.Z. advertised his services on Discord, and via word of mouth spread by other
 5
     hackers.
 6

 7           119.       M.Z. also included links to his Discord channel in his in-game hacks.

 8           120.       M.Z. accepted payment via PayPal, CashApp, Visa Gift Cards, Steam Gift Cards,
 9   and DoorDash Gift Cards.
10
             121.       One of M.Z.’s hacks was a “Modded RRO Lobby” that allows the hacker to use
11
     “any weapon in any quest,” radically altering the game experience for the hacker and allowing
12
     them to progress more easily through, and earn more rewards (including Tokens) at Rec Room’s
13

14   expense.

15           122.       M.Z. sold the Modded RRO Lobby for $4.99.

16           123.       Because the quests are multiplayer experiences, M.Z.’s Modded RRO Lobby
17   negatively impacted the gameplay of honest players.
18
             124.       The Hacks also include features that allow cheaters to copy rooms (sale price
19
     $19.99-$59.99) and inventions (sale price $9.99-$19.99) created by other players, in effect
20
     stealing the hard work and creativity of others in violation of the creator’s copyrights and the Rec
21

22   Room Code of Conduct and TOS, and allowing the cheater to then monetize the room or

23   invention themselves and deprive the original creator of Token earnings.

24           125.       The Hacks also allow players to change their statistics in rooms created by other
25
     players, making the player appear more successful in these games than they had been.
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 1           126.       This hack allows the player to increase in-room currency and obtain content
 2
     without paying.
 3
             127.       As a result, the hack allows players to steal from both the creator of the room and
 4
     RRI.
 5
             128.       M.Z. offers his hack software and services to players on several different
 6

 7   platforms, including mobile devices such as phones and tablets and personal computers.

 8           129.       M.Z. offers a “Neptunium Mobile Mod” that consists of a modified version of
 9   Rec Room’s client software for mobile platforms, enabling various hacks and cheats.
10
             130.       M.Z sells the “Neptunium Mobile Mod” $59.99-$199.99.
11
             131.       M.Z. offers an “Elysium Client” that consists of a modified version of Rec
12
     Room’s client software for personal computers, enabling various hacks and cheats.
13

14           132.       M.Z. sells the “Elysium Client” for $249.99.

15           133.       On information and belief, these are not the only Rec Room hacks that M.Z. has

16   made or sold.
17           134.       On information and belief, M.Z. also offers software and a service that alters the
18
     HWID of a computer, enabling hackers to evade bans.
19
             135.       On information and belief, M.Z. sells this software and service for $5/week or $20
20
     for a lifetime subscription.
21

22           136.       On information and belief, M.Z. himself used this to alter his own HWID.

23           137.       On information and belief, M.Z. altered his HWID to evade his own multiple bans

24   from Rec Room.
25

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 1           138.       M.Z. has also created at least 61 accounts – and possibly more than 200 – to
 2
     evade Rec Room bans and enable him to continue his Code of Conduct and TOS-violating
 3
     activities.
 4
             139.       M.Z.’s hacks damage the Rec Room community, because the enhanced
 5
     permissions allow the users of the Hacks to repeatedly make Rec Room an unsafe, unwelcoming
 6

 7   place to its members.

 8           140.       M.Z.’s hacks damage the value of Rec Room to its players, allowing hackers to
 9   steal from the players who put in the hard work to create their own games within Rec Room.
10
             141.       M.Z.’s hacks damage Rec Room directly because of lost Token purchases, time
11
     and other resources spent counteracting his hacks and re-issuing bans, procuring and updating
12
     third party anti-hack software, unauthorized alteration to Rec Room’s copyrighted content and
13

14   circumvention of Rec Room’s protective technological measures, and finally, being forced to file

15   this suit.

16           B.         M.Z.’s Misconduct Escalates to Include Egregious Hacking, Harassment,
                        and Bigoted, Discriminatory Misconduct.
17
             142.       In July 2022, M.Z. used the Hacks to circumvent the measures that allow Rec
18
     Room to ensure that its – and only its – authorized content appears in the Rec Center5
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26   The Rec Center is the main gathering place outside of a player’s Dorm Room, and is a high
     traffic area, often including children under 13.


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 1            143.      As illustrated by the screenshot below, M.Z. used his illicit software in order to
 2
     display a giant Nazi flag in the Rec Center.
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15            144.      This hateful, horrifying display could not have been created without the use of the

16   Hacks.

17            145.      Nor – it goes without saying – would Rec Room ever in any way condone such
18   conduct.
19
              146.      In fact, the flag was rapidly detected and removed by Rec Room staff.
20
              147.      Nevertheless, in addition to the infringement of Rec Room’s copyright through
21
     the creation of this unauthorized derivative, these actions demonstrate the lengths to which M.Z.
22

23   will go in his attempts to harass others and dissuade them from playing Rec Room.

24            148.      Rec Room does not and will not tolerate such conduct.

25            149.      On information and belief, in May 2023, M.Z. used the Hacks to crash the game
26
     for other users, including Rec Room staff members.


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 1           150.       Upon information and belief, M.Z. has used and continues to use compromised
 2
     credentials – player accounts that are in effect stolen – to play Rec Room
 3
             151.       The use of such compromised accounts provide another means by which M.Z.
 4
     circumvents the protection measures intended to keep him from playing the game.
 5
             152.       It also permits M.Z. to spend the victimized players’ Tokens, delete the original
 6

 7   content they have created, and get their accounts banned as a consequence of his violations of the

 8   TOS and Code of Conduct.
 9           153.       And M.Z. has continued to use his software to repeatedly evade bans and hack,
10
     and has continued to engage in the sale of Hacks.
11
             154.       Lesser actions having failed to rein in M.Z.’s misconduct, RRI engaged outside
12
     counsel and had M.Z.’s parents served with a cease-and-desist letter that informed them of
13

14   M.Z.’s clear propensity for misconduct.

15           155.       M.Z.’s parents did not restrain M.Z.’s misconduct.

16           156.       M.Z. has continued his activities since receiving the cease and desist letter, and
17   has even bragged about receiving it.
18
             C.         Rec Room Identifies M.Z. and Attempts – Unsuccessfully – to Get Him to
19                      Stop His Harmful Conduct.

20           157.       RRI was able to identify M.Z. as the individual behind the Neptune account and

21   many other accounts through a range of methods.
22           158.       Email addresses linked to these accounts identify M.Z. by name, and those email
23
     accounts also linked him to his accounts on other services including YouTube.
24
             159.       Email addresses linked to these accounts also linked to an account that was used
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     to make in-game purchases using M.Z.’s name and address.
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 1           160.       The address associated with M.Z. was consistent with internet protocol addresses
 2
     M.Z. used when he logged into Rec Room.
 3
             161.       All of the above have been corroborated by contextual evidence naming M.Z. in
 4
     his Discord server.
 5
             162.       Once M.Z. was identified, undersigned counsel reached out to M.Z.’s parents in
 6

 7   an effort to inform them of their child’s misbehavior, and attempt to reach a resolution that

 8   would have M.Z. take responsibility for his actions and help repair the damage he has caused.
 9           163.       Efforts were made to reach M.Z.’s parents through email and postal mail, and a
10
     cease-and-desist letter detailing M.Z.’s illicit activities and requesting redress was delivered to
11
     them by a process server.
12
             164.       These additional efforts were above and beyond the efforts ordinarily required to
13

14   bring in-game misconduct to a halt.

15           165.       Engaging in these additional efforts caused RRI to incur additional expenses.

16           166.       These additional efforts at resolving the problems created by M.Z.’s ongoing
17   misconduct were unsuccessful.
18
             167.       There has been no response of any kind from M.Z.’s parents, despite them being
19
     on notice of M.Z.’s unlawful actions.
20
             168.       But this is not to say that the efforts had no effect at all.
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 1           169.       As shown below, shortly after M.Z.’s parents were contacted, M.Z. confirmed
 2
     that he had been correctly identified by posting the cease-and-desist letter from his “Neptune”
 3
     account and shut down his original Discord server. But he did not stop his misconduct.
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 1           170.       Instead, as shown in the screenshot below, M.Z. continues to distribute and sell
 2
     hacks on Telegram and Signal.
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             171.       Upon information and belief, M.Z. chose these messaging services under the
13
     mistaken assumption they offered him better anonymity and privacy than Discord.
14

15           172.       Upon information and belief, as the screenshot below, which was taken on or

16   about July 21, 2023 demonstrates, M.Z. has recently resurrected the ApeShop Discord and

17   continues to use it for his illicit purposes.
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20           173.       Other efforts having failed and seeing no signs that M.Z. will otherwise cease his

21   conduct, Rec Room has been forced to bring this action to stop M.Z.’s misconduct and hold him
22   accountable for the harm he has caused.
23
                                          FIRST CAUSE OF ACTION
24                                           (Breach of Contract)

25           174.       RRI repeats and realleges the allegations of Paragraphs 1–173 of this Complaint

26   as though fully set forth herein.



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 1           175.       The TOS are a valid, binding contract between RRI and each individual player of
 2
     Rec Room.
 3
             176.       RRI has performed all its obligations under this contract.
 4
             177.       Rec Room cannot be installed unless each individual user agrees to Rec Room’s
 5
     TOS.
 6

 7           178.       On information and belief, M.Z. agreed to the terms of service each time he

 8   downloaded the software on a device.
 9           179.       Rec Room’s TOS provides that “Rec Room Inc may modify the Terms at any
10
     time, in our sole discretion. If we do so, we will let you know by updating this page, posting the
11
     modified Terms wherever the Game may be downloaded, and/or through other
12
     communications.”
13

14           180.       On information and belief, M.Z. agreed to modifications to the TOS by

15   continuing to play the game after the modifications were made and brought to his attention.

16           181.       Rec Room’s TOS provides that “If you are an individual, you represent and
17   warrant that you are at least eighteen years old or if not, your parents have reviewed these Terms
18
     and in addition to your agreement to these Terms, your parents hereby enter into them on their
19
     and your behalf.”
20
             182.       Rec Room’s TOS is expressly conditioned on the player’s agreement not to
21

22   engage in conduct that “is cheating (i.e., unauthorized methods that influence Rec Room's

23   gameplay, including exploits of any in-game bugs, that give you and/or any other user an

24   advantage over other players not using such methods) or circumvents any of Rec Room Inc’s
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 1   methods for enforcing these Terms (e.g. ban evasion, multiple account creation, using a VPN for
 2
     circumvention purposes).”
 3
                 183.   M.Z. breached this provision each time he used exploits or bugs causing RRI to
 4
     suffer damages in an amount to be proven at trial.
 5
                 184.   M.Z. breached this provision every time he evaded his ban from Rec Room.
 6

 7               185.   Rec Room’s TOS is expressly conditioned on the player’s agreement that they

 8   will not engage in conduct that “harasses, threatens or embarrasses others, or promotes
 9   discrimination, bigotry, racism, hatred, harassment or harm against any individual or group.”
10
                 186.   M.Z. breached this provision regularly, resulting in repeated bans.
11
                 187.   Rec Room’s TOS is expressly conditioned on the player’s agreement not to
12
     “Avoid, bypass, remove, deactivate, impair, descramble or otherwise circumvent any
13

14   technological measure implemented by Rec Room Inc or any of Rec Room Inc's providers or any

15   other third party (including another user) to protect the Services or Content.”

16               188.   M.Z. breached this provision of the Rec Room TOS both when he evaded bans
17   and when he developed the Hacks.
18
                 189.   Rec Room’s TOS is expressly conditioned on the player’s agreement not to
19
     “Create, develop, modify, distribute, or use any unauthorized software programs to gain any
20
     advantage or alter the intended operation of the Services.”
21

22               190.   M.Z. breached this provision of the TOS when he created, developed, modified,

23   and distributed the Hacks.

24               191.   These breaches of the TOS have damaged Rec Room in an amount to be proven
25
     at trial.
26



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 1           192.       In addition, RRI is entitled to preliminary and permanent injunctive relief barring
 2
     M.Z. from continuing his breaching conduct and from continuing to harass Rec Room, its
 3
     employees, or its players.
 4
                                        SECOND CAUSE OF ACTION
 5                                        (Fraud in the Inducement)
 6           193.       RRI repeats and realleges the allegations of Paragraphs 1-192 of this Complaint as
 7
     though fully set forth herein.
 8
             194.       As set forth above, M.Z. entered into a contract with RRI each time he
 9
     downloaded the software on a new device.
10

11           195.       Upon information and belief, M.Z. was aware that the Code of Conduct and

12   Terms of Services banned cheating, harassment, and ban evasion.

13           196.       Upon information and belief, at the time he purported to indicate his agreement to
14   the TOS upon downloading the software, M.Z. intended to breach each and all of these
15
     provisions of the TOS.
16
             197.       By indicating his agreement to the TOS, M.Z. represented to RRI that he intended
17
     to abide by the TOS.
18

19           198.       M.Z.’s agreement and intent to abide by the TOS was material to the contractual

20   relationship between M.Z. and RRI, and to RRI’s willingness to allow M.Z. access to the Rec

21   Room software.
22
             199.       Upon information and belief, M.Z.’s representation to Rec Room that he would
23
     abide by the TOS’s terms was intentionally false at the time it was made, and each time it was
24
     made.
25

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 1           200.       M.Z. was aware that RRI would not allow him access to Rec Room unless he
 2
     indicated his agreement to the TOS.
 3
             201.       M.Z. intended that RRI would rely on his misrepresentation that he would abide
 4
     by the TOS.
 5
             202.       RRI was justifiably ignorant to the falsity of M.Z.’s representation, as it lacked
 6

 7   knowledge at the times that M.Z. indicated his agreement to the TOS that the anonymous

 8   account it was allowing access to Rec Room was M.Z.’s or that the person behind the account
 9   had any history of breaching the TOS or any present intent to breach the TOS.
10
             203.       RRI relied on M.Z.’s intentional misrepresentations when he agreed to the TOS
11
     by allowing him access to Rec Room and its community.
12
             204.       RRI has the right to rely on a user’s purported acceptance of the TOS in allowing
13

14   the user access to Rec Room.

15           205.       RRI’s reliance on M.Z.’s misrepresentations damaged it in an amount to be

16   proven at trial.
17           206.       In addition, RRI is entitled to preliminary and permanent injunctive relief barring
18
     M.Z. from creating any new Rec Room account, or using any existing account to play Rec
19
     Room.
20
                                          THIRD CAUSE OF ACTION
21                                         (Copyright Infringement)
22
             207.       RRI repeats and realleges the allegations of Paragraphs 1-206 of this Complaint as
23
     though fully set forth herein.
24
             208.       RRI is the holder of multiple copyright registrations for Rec Room, including
25
     Registrations No. TX 9-283-968, TX 9-284-315, covering the Rec Room software, and
26



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 1   Registrations No. PA 2-419-735, PA 2-419-762, and PA 2-419-765, covering the initial release
 2
     of Rec Room, the Rec Room dorm room, and the Rec Room Rec Center as audiovisual works.
 3
             209.       RRI is the sole owner and exclusive rightsholder for the material covered by these
 4
     registrations.
 5
             210.       RRI is the owner of all copyrights in Rec Room, other than the copyrights in
 6

 7   content created by users or partners, which RRI uses under license.

 8           211.       M.Z. has infringed RRI’s exclusive right to create and manage derivative works
 9   of Rec Room.
10
             212.       Upon information and belief, M.Z.’s software only works within, and in
11
     conjunction with, RRI’s copyrighted Rec Room code.
12
             213.       M.Z.’s insertion of the Nazi flag in the Rec Center created an unauthorized
13

14   derivative work of the Rec Center.

15           214.       M.Z.’s software also creates unauthorized derivative works of the Rec Room

16   software, by modifying the game clients of the hacking users.
17           215.       Upon information and belief, M.Z.’s software works with memory injection,
18
     utilizing code designed to hook onto and hijack specific pieces of Rec Room’s code covered by
19
     Registration No. TX 9-283-968.
20
             216.       Upon information and belief, M.Z.’s software works by DLL injection, overriding
21

22   core components of the Rec Room client software.

23           217.       Upon information and belief, M.Z.’s software creates unauthorized copies of the

24   Rec Room servers and services.
25

26



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 1           218.       Upon information and belief, M.Z.’s software generates an unauthorized version
 2
     of the Maker Pen overlay in any room instance.
 3
             219.       Rec Room allows room creators to choose if participants and visitors are allowed
 4
     to use the Maker Pen inside each given room.
 5
             220.       Rec Room forbids access to the Maker Pen in the rooms Rec Room creates,
 6

 7   including the Rec Center.

 8           221.       As such, M.Z.’s software allows a user access to a restricted feature in order to
 9   make unauthorized audiovisual modifications to Rec Room’s and other creators’ copyrighted
10
     content.
11
             222.       M.Z. further infringed RRIs copyrights by playing Rec Room without a valid
12
     license.
13

14           223.       M.Z.’s misconduct violated express conditions of the Rec Room TOS, vitiating

15   the license and rendering his use of the game unlicensed and infringing.

16           224.       Any licenses M.Z. purported to enter into with RRI after his account was banned
17   were the result of M.Z.’s knowingly false representation that he would abide by the TOS.
18
             225.       RRI entered into any such licenses in reliance on M.Z.’s knowing
19
     misrepresentations.
20
             226.       RRI was fraudulently induced to enter into these licenses, and as a result they are
21

22   void.

23           227.       M.Z.’s copyright infringement was knowing and willful.

24           228.       M.Z.’s copyright infringement was for commercial gain.
25

26



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 1           229.       These infringements of RRI’s copyrights have caused RRI damage in an amount
 2
     to be proven at trial.
 3
             230.       M.Z.’s repeated infringements of RRI’s copyrights have caused, and are
 4
     continuing to cause, RRI to suffer irreparable harm, and RRI is entitled to preliminary and
 5
     permanent injunctive relief to halt these injuries.
 6

 7                                 FOURTH CAUSE OF ACTION
                  (Circumvention of Technological Measures, 17 U.S.C. § 1201(a) & (b))
 8
             231.       RRI repeats and realleges the allegations of Paragraphs 1-230 of this Complaint as
 9
     though fully set forth herein.
10

11           232.       RRI is the owner and holder of all intellectual property rights and interests in its

12   games, including copyrights, other than user-generated and/or third party partnership content.

13           233.       RRI protects its games with a “defense in depth” consisting of layers of
14   technological protection measures.
15
             234.       These measures include checks such as password-protected accounts and related
16
     measures to ensure that only authorized users access the games, but also a broad array of other
17
     technological measures that any hacker must breach before and after they log in for their hack to
18

19   work.

20           235.       RRI developed extensive anti-hacking technological measures that it deployed

21   precisely to curb the type of software M.Z. develops, markets, and uses.
22
             236.       RRI also licenses additional technological protection measures, such as EPIC
23
     Games’s ‘Easy Anti-Cheat’ that are put in place to detect hackers and prevent them from
24
     accessing Rec Room.
25

26



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 1           237.       Consistent with its intention of limiting access to Rec Room to players who
 2
     comply with the Terms of Service, RRI bans accounts of players it catches hacking, denying
 3
     them further access to Rec Room.
 4
             238.       M.Z. manufactures, imports, offers to the public, provides, or otherwise traffics in
 5
     hack software which includes functionality that has the sole purpose of breaching Rec Room’s
 6

 7   technological protection measures, accesses its functions without authorization, and impairs the

 8   integrity of Rec Room’s software and system.
 9           239.       M.Z. also manufactures, imports, offers to the public, provides, or otherwise
10
     traffics in hack software which includes functionality intended solely to alter the HWID of a
11
     person’s computer and remove anti-cheat tracing information in order to allow banned players to
12
     create new Rec Room accounts and remain undetected by Rec Room’s anti-hack mitigation
13

14   technology.

15           240.       Circumventing RRI’s anti-hack mitigation technology, which functions to control

16   and limit access to Rec Room either directly or by identifying to RRI which accounts it must
17   ban, is a primary function of Defendant’s products.
18
             241.       These features of M.Z.’s products have no commercially significant purpose
19
     beyond circumventing Plaintiff’s anti-hack mitigation technology.
20
             242.       If M.Z’s hack software ceased being effective in circumventing Plaintiff’s anti-
21

22   hack mitigation technology, there would in turn cease to be a market for M.Z.’s hack software.

23           243.       M.Z. explicitly markets his products as designed to circumvent Plaintiff’s anti-

24   hack mitigation technology, which functions to control and limit access to their work.
25

26



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 1           244.       As alleged above, use of hack software is a breach of the Rec Room TOS and the
 2
     conditions of the player’s license to the Rec Room software, rendering any subsequent use of
 3
     Rec Room unlicensed and infringing.
 4
             245.       M.Z. thus manufactures, imports, offers to the public, provides, and otherwise
 5
     traffics in a technology, product, service, and device primarily designed to circumvent protection
 6

 7   afforded by technological measures that effectively protect RRI’s rights in Rec Room.

 8           246.       M.Z.’s conduct has caused, and will continue to cause, irreparable harm to RRI by
 9   making Rec Room less fun and appealing to honest players, and by damaging the goodwill RRI
10
     has worked to create in their game.
11
             247.       As such, RRI is entitled to injunctive relief, an order directing the destruction of
12
     Defendant’s Rec Room hack software, an award of statutory damages in the maximum amount
13

14   of $2,500 per instance of Defendant’s Rec Room hack software that Defendant sold or licensed,

15   Defendant’s profits attributable to his violations of 17 U.S.C. § 1201 pursuant to 17 U.S.C. §

16   1203(c), and RRI’s costs and attorneys’ fees pursuant to 17 U.S.C. § 1203(b).
17                                       FIFTH CAUSE OF ACTION
                               (Tortious Interference with Contractual Relations)
18

19           248.       RRI repeats and realleges the allegations of Paragraphs 1-247 of this Complaint as

20   though fully set forth herein.

21           249.       M.Z. was generally and specifically aware that any Rec Room user to whom he
22
     sold his Rec Room hack software was bound by the TOS.
23
             250.       M.Z. was aware that any player who used his Rec Room hack software would
24
     thereby breach the TOS’s prohibition on hacking or modifying Rec Room.
25

26



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 1             251.     M.Z. induced every player to whom he sold a hack subscription to breach the
 2
     TOS each time such player used the hack software.
 3
               252.     M.Z. induced and caused such breaches by allowing Rec Room players access to
 4
     his hack software and providing support for such hack software.
 5
               253.     Because M.Z.’s creation and distribution of the hack software was in violation of
 6

 7   his own obligations to RRI under the TOS and was also a violation of federal prohibitions

 8   against trafficking in anticircumvention devices, he induced and/or caused the breaches by other
 9   Rec Room users through improper means.
10
               254.     As a direct and proximate result of M.Z’s actions, RRI suffered damage in an
11
     amount to be proven at trial, including but not limited to a loss of goodwill among users of
12
     Plaintiff’s game, diversion of Plaintiff’s resources to attempt to detect and prevent the use of the
13

14   Hacks, and decreased profits.

15                                              JURY DEMAND

16             Pursuant to Federal Rule of Civil Procedure 38(b), plaintiff demands a trial by jury as to

17   all issues so triable in this action.
18                                           PRAYER FOR RELIEF
19             WHEREFORE, Plaintiff Rec Room, Inc., prays for the following relief:
20
               A.       That judgment be entered in Plaintiff’s favor against Defendant on all applicable
21
     claims;
22
               B.       That M.Z. be preliminarily and permanently enjoined from:
23

24                      (1)    Playing Rec Room, including by attempting to create any new accounts, or
                        otherwise interacting with RRI, its employees, or Rec Room’s software in any
25                      way.

26



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 1                      (2)    Descrambling, decrypting, avoiding, bypassing, removing, deactivating, or
                        impairing a technological measure that controls access to Rec Room’s
 2
                        copyrighted works;
 3
                        (3)      Manufacturing, importing, offering to the public, providing, or otherwise
 4                      trafficking in any technology, product, service, device, component, or part thereof
                        that is primarily designed or produced for the purpose of circumventing Rec
 5                      Room’s technological protection measure(s) that effectively control access to a
                        work; That has only limited commercially significant purpose or use other than to
 6                      circumvent a technological protection measure that effectively controls access to a
 7                      work; and/or that is marketed by Defendant for use in circumventing
                        technological protection measure(s) that effectively control access to a work;
 8
                        (4)      Manufacturing, importing, offering to the public, providing, or otherwise
 9                      trafficking in any technology, product, service, device, component, or part thereof
                        that is primarily designed or produced for the purpose of circumventing protection
10                      afforded by technological measure(s) that effectively protects a right of RRI in a
                        work or a portion thereof; that has only limited commercially significant purpose
11
                        or use other than to circumvent protection afforded by technological protection
12                      measure(s) that effective protect a right of RRI in a work or a portion thereof;
                        and/or that is marketed by Defendant for use in circumventing protection afforded
13                      by technological protection measure(s) that effective protect a right of RRI in a
                        work or a portion thereof; and
14
                        (5)    Aiding or assisting another person or entity in any of the activities
15
                        described in (1) - (3);
16
             C.         An order requiring that Defendant immediately destroy all copies of Rec Room or
17
     any derivative work thereof in their possession or control;
18
             D.         An order requiring that Defendant immediately destroy all copies of any hacks for
19

20   Rec Room, including deleting any repositories hosted on third party websites;

21           E.         An order requiring Defendant to immediately and permanently disable all extant

22   hacking software that relates to RRI, the Rec Room Game, or any of Rec Room’s anti-hacking
23   technological measures, including deleting any repositories hosted on third party websites;
24
             F.         An order forbidding Defendant from developing, manufacturing, and/or selling
25
     any hacks for any ensuing releases of the Rec Room or any other RRI software;
26



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 1           G.         An award to RRI of restitution and damages, including, but not limited to,
 2
     compensatory, statutory, punitive damages, and all other damages permitted by law;
 3
             H.         That RRI be awarded pre-judgement and post-judgment interest on all damages
 4
     awarded against Defendant;
 5
             I.         An award to RRI of its costs incurred in this suit as well as reasonable attorneys’
 6

 7   fees; and

 8           J.         For such other relief as the Court deems just and proper.
 9
             DATED this 17th day October, 2023.
10

11

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